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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

WHAM-O HOLDING, LTD. and
INTERSPORT CORP. d/b/a WHAM-O,

        Plaintiffs,                                              Case No.: 1:18-cv-07299

v.                                                               Judge John Robert Blakey

THE PARTNERSHIPS AND UNINCORPORATED                              Magistrate Judge Jeffrey T. Gilbert
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                                   NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiffs hereby file this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) on Schedule A, with leave to

reinstate within ninety (90) days if the agreed settlement payment is not received. After ninety

(90) days, the dismissal is with prejudice.

               NO.                                   DEFENDANT
               484                                   highquality123
               432                                      elivebuy
               807                                Home Leisure Store
               582                                      namoon
               154                                  Soleil China Ltd.
               241                                     caleen168
               602                                        PaQi
               127                       Shantou Sunny Toys Industrial Co., Ltd.
               376                                   beautymallfun
               811                                    JJunLiMFit
               830                                      Socialme
               833                                   Trecasie Direct
   Case: 1:18-cv-07299 Document #: 56 Filed: 01/14/19 Page 2 of 2 PageID #:8764



DATED: January 14, 2019                            Respectfully submitted,

                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt (Bar No. 6207971)
                                                   Keith Vogt, Ltd.
                                                   1033 South Blvd., Suite 200
                                                   Oak Park, Illinois 60302
                                                   Telephone: 708-203-4787
                                                   E-mail: keith@vogtip.com

                                                   ATTORNEY FOR PLAINTIFFS


                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on January 14, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all
registered attorneys of record.
                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt, Esq.




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